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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        Maryland Shall Issue, Inc., et al.,

              Plaintiffs-Appellants,                              No.: 23-1719
        v.

        Montgomery County, Maryland

              Appellee



                          MONTGOMERY COUNTY, MARYLAND’S
                               MOTION FOR ABEYANCE

              Pursuant to Federal Rule of Appellate Procedure 27 and Local Rule 12(d),

        Defendant-Appellee Montgomery County, Maryland (“County”) respectfully

        moves this Court for entry of an Order to hold his appeal in abeyance, and as

        grounds therefore states as follows:

              1.     This case is an interlocutory appeal from the District Court’s denial of

        Plaintiffs’ motion for a preliminary injunction. Plaintiffs sought to enjoin a portion

        of the Montgomery County Code governing the carry of firearms in the County.

        The County respectfully requests that this Court hold this appeal in abeyance

        because on December 15, 2023, the Circuit Court for Montgomery County,

        Maryland, entered a permanent injunction that prohibits the County from enforcing

        the County law at issue in this appeal. Counsel for Plaintiffs are aware of the

        County’s plan to file this Motion, and oppose the relief requested herein.
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              2.       Further relevant background for the Court is as follows. In this

        interlocutory appeal, Plaintiffs challenge on Second Amendment grounds two

        County Bills, 4-21 and 21-22E, which changed the rules regarding the carry of

        firearms in the County. Both Bills amended Chapter 57, “Firearms,” of the

        Montgomery County Code.

              3.       Plaintiffs commenced this case in the Circuit Court for Montgomery

        County, Maryland. The operative complaint, the Second Amended Complaint,

        purports to allege eight causes of action.1 Relief sought includes, inter alia, a

        preliminary and permanent injunction that enjoin enforcement of the Bills. 2

              4.       The County removed the case to the U.S. District for the District of

        Maryland, which then remanded the State law claims – Counts I, II, and III – to the

        Circuit Court for Montgomery County, Maryland.3 The case then proceeded

        simultaneously in state court and federal court. In state court, both parties moved


              1
                 See Exhibit A, Second Amended Complaint, Nov. 30, 2022, Maryland
        Shall Issue, Inc., et al. v. Montgomery County, Md., Civil No. TDC-21-1736 (ECF
        49) (attachments omitted).
              2
                  See Ex. A at 84-85 (Prayer for Relief § H).
              3
                 See Exhibit B, Memorandum Opinion, May 5, 2023, Maryland Shall
        Issue, Inc., et al. v. Montgomery County, Md., Civil No. TDC-21-1736 (ECF 76);
        Exhibit C, Order, May 5, 2023, Maryland Shall Issue, Inc., et al. v. Montgomery
        County, Md., Civil No. TDC-21-1736 (ECF 77). The District Court’s opinion
        summarizes the case’s convoluted procedural history up to the date of its decision.
        See Ex. B at 2-6. That procedural history is not articulated here as it is not relevant
        to the question presented by this Motion.

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        for summary judgment. In federal court, Plaintiffs pursued a temporary restraining

        order and a preliminary injunction to enjoin enforcement of the County’s law

        based on Count VII of their Second Amended Complaint, which alleges the

        County’s amended law violates the Second Amendment of the U.S. Constitution.

        This appeal is from the District Court’s denial of that request via an opinion and

        order entered July 6, 2023. 4

              5.     On November 27, 2023, after hearing oral argument on the parties’

        cross-motions for summary judgment, the Circuit Court issued a Memorandum

        Decision and Order in favor of Plaintiffs.5 The Circuit Court held that Maryland

        law preempts Bills 4-21 and 21-22E, and as a result the County lacked authority to

        enact them.6 After considering proposed orders submitted by the parties, on

        December 15, 2023, the Circuit Court entered a declaratory judgment and a

        permanent injunction prohibiting enforcement of the same law challenged in this




              4
                 See Exhibit D, Memorandum Opinion, July 6, 2023, Maryland Shall Issue,
        Inc., et al. v. Montgomery County, Md., Civil No. TDC-21-1736 (ECF 82); Exhibit
        E, Order, July 6, 2023, Maryland Shall Issue, Inc., et al. v. Montgomery County,
        Md., Civil No. TDC-21-1736 (ECF 83).

              See Exhibit F, Memorandum Decision and Order, Nov. 27, 2023,
              5

        Maryland Shall Issue, Inc., et al. v. Montgomery County, Md., Circuit Court for
        Montgomery County, Maryland, Civil No. 485899V.
              6
               See Ex. F at 18 (“[t]he Court concludes that the challenged provisions of
        Chapter 57 conflict with and are preempted by State law”).

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        appeal. 7 The Court also entered an Order pursuant to Maryland Rule 2-602,

        entering final judgment so that a party wishing to appeal its orders may do so

        immediately. 8

              6.     The County will appeal the Circuit Court’s Memorandum Decision

        and Order, Declaratory Judgment Order, and Order Granting Injunctive Relief. The

        County will not enforce the portions Chapter 57 enjoined by the Circuit Court

        pending its state court appeal.

              7.     The sole issue before this Court in this interlocutory appeal is the

        constitutionality of the County’s Code, as amended Bills 4-21 and 21-22E. Those

        Bills are now not in effect pending the outcome of the County’s state court appeal.

              8.     Local Rule 12(d) provides that this Court may, “place a case in

        abeyance pending disposition of matters before this Court or other courts which

        may affect the ultimate resolution of an appeal.” This Court need not hear




              7
                See Exhibit G, Declaratory Judgment, Dec. 15, 2023, Maryland Shall
        Issue, Inc., et al. v. Montgomery County, Md., Circuit Court for Montgomery
        County, Maryland, Civil No. 485899V; Exhibit H, Order Granting Injunctive
        Relief, Dec. 15, 2023, Maryland Shall Issue, Inc., et al. v. Montgomery County,
        Md., Circuit Court for Montgomery County, Maryland, Civil No. 485899V.
              8
               See Exhibit I, Order Granting Certification of Final Judgment Under MD
        Rule 2-602, Dec. 15, 2023, Maryland Shall Issue, Inc., et al. v. Montgomery
        County, Md., Circuit Court for Montgomery County, Maryland, Civil No.
        485899V.

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        argument on the constitutionality of a law that is not being enforced, and whose

        validity will be the subject of an appeal in Maryland’s appellate courts.

              9.     Judicial economy weighs in favor of this appeal being held in

        abeyance pending the outcome of the appeal of the Circuit Court’s decision in

        Maryland’s appellate courts.

              WHEREFORE, the County respectfully requests that the Court enter an

        Order that holds this matter in abeyance pending the County’s appeal of the Circuit

        Court’s Memorandum Decision and Order, Declaratory Judgment Order, and

        Order Granting Injunctive Relief.

                                                Respectfully submitted,

                                                JOHN P. MARKOVS
                                                COUNTY ATTORNEY


                                                     /s/ Edward B. Lattner
                                                Edward B. Lattner
                                                Deputy County Attorney

                                                       /s/ Erin J. Ashbarry
                                                Erin J. Ashbarry
                                                Chief, Government Operations Division

                                                      /s/ Matthew H. Johnson
                                                Matthew H. Johnson
                                                Assistant County Attorney

                                                Executive Office Building
                                                101 Monroe Street, Third Floor
                                                Rockville, Maryland 20850
                                                (240) 777-6700

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                                              (240) 777-6705 fax
                                              Attorneys for Defendant-Appellee
                                              Montgomery County, Maryland


                   CERTIFICATE OF COMPLIANCE WITH RULE 27(d)

                         Certificate of Compliance With Length Limitation,
                        Typeface Requirements, and Type Style Requirements

        1.    This Motion complies with the length limitation of Federal Rule of
              Appellate Procedure 27(d)(2)(A) because this Motion contains 975 words.

        2.    This Motion complies with the typeface and type-style requirements of
              Federal Rules of Appellate Procedure 27(d)(1)(E), 32(a)(5) and 32(a)(6)
              because this Motion has been prepared in a proportionally spaced typeface
              using Microsoft Word in Times New Roman 14-point font.



                                                     /s/ Erin J. Ashbarry
                                              Erin J. Ashbarry
                                              Chief, Government Operations Division


                                  CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on December 18, 2023, a copy of the foregoing

        and all exhibits was filed to be transmitted via this Court’s CM/ECF Electronic

        Document Filing System to:

                    Mark W. Pennak
                    Maryland Shall Issue, Inc.
                    9613 Harford Rd., Ste C #1015
                    Baltimore, Maryland 21234-21502
                    mpennak@marylandshallissue.org
                    Attorney for All Plaintiffs-Appellants


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                   David H. Thompson
                   Peter A. Patterson
                   Cooper & Kirk, PLLC
                   1523 New Hampshire Avenue, N.W.
                   Washington, D.C. 20036
                   dthompson@cooperkirk.com
                   ppatterson@cooperkirk.com
                   Attorneys for Plaintiff-Appellant MSI

                   Matthew Larosiere
                   Law Office of Matthew Larosiere
                   6464 Houlton Circle
                   Lake Worth, Florida 33467
                   larosieremm@gmail.com
                   Counsel for all Plaintiffs-Appellants


                                             /s/ Erin J. Ashbarry
                                             Erin J. Ashbarry




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                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

        Maryland Shall Issue, Inc., et al.,

                Plaintiffs-Appellants,

        v.                                                                    No.: 23-1719

        Montgomery County, Maryland

                Defendant-Appellee


                                   EXHIBIT LIST
                     DEFENDANT-APPELLEE’S MOTION FOR ABEYANCE

        Description                                                                                           Exhibit

        Second Amended Complaint, Nov. 30, 2022, Maryland Shall Issue, Inc., et al.
             v. Montgomery County, Md., Civil No. TDC-21-1736, Second Amended
             Complaint, Nov. 30, 2022 (ECF 49)
             (attachments omitted) ..................................................................................... A

        Memorandum Opinion, May 5, 2023, Maryland Shall Issue, Inc., et al. v.
            Montgomery County, Md., Civil No. TDC-21-1736 (ECF 76) ...................... B

        Order, May 5, 2023, Maryland Shall Issue, Inc., et al. v. Montgomery County,
              Md., Civil No. TDC-21-1736 (ECF 77) ......................................................... C

        Memorandum Opinion, July 6, 2023, Maryland Shall Issue, Inc., et al.
            v. Montgomery County, Md., Civil No. TDC-21-1736 (ECF 82) .................. D

        Order, July 6, 2023, Maryland Shall Issue, Inc., et al. v. Montgomery
              County, Md., Civil No. TDC-21-1736 (ECF 83)............................................ E

        Memorandum Decision and Order, Nov. 27, 2023, Maryland Shall Issue, Inc.,
            et al. v. Montgomery County, Md., Circuit Court for Montgomery
            County, Maryland, Civil No. 485899V .......................................................... F
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                                                          DEFENDANT-APPELLEE’S MOTION FOR ABEYANCE
                                                                                        EXHIBIT LIST
                                                                                         NO. 23-1719


        Declaratory Judgment, Dec. 15, 2023, Maryland Shall Issue, Inc., et al. v.
              Montgomery County, Md., Circuit Court for Montgomery
              County, Maryland, Civil No. 485899V .......................................................... G

        Order Granting Injunctive Relief, Dec. 15, 2023, Maryland Shall Issue, Inc.,
              et al. v. Montgomery County, Md., Circuit Court for
              Montgomery County, Maryland, Civil No. 485899V. ................................... H

        Order Granting Certification of Final Judgment Under MD Rule 2-602,
              Dec. 15, 2023, Maryland Shall Issue, Inc., et al. v.
              Montgomery County, Md., Circuit Court for Montgomery County,
              Maryland, Civil No. 485899V ......................................................................... I




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